                                                                         FII.Ec, IN OPf:N COURT
                                                                        ONJf-lJ-202.2 ~
                                                                           Pete, A. ~          O(r-
                    UNITED STATES DISTRICT COURT                           US Olstnct C , Jr., Cleric -
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             FOR THE EASTERN DISTRICT OF NORTH CAROLINA                                -
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                          EASTERN DIVISION




 UNITED STATES OF AMERICA,


              v.
                                                INDICTMENT
MELISSA AMBER MCROY,



      The Grand Jury charges that:


                                    COUNT ONE

      Beginning at a date unknown, but no later than in and around April 2022, and

continuing up to and including on or about July 13, 2022, in the Eastern District of

North Carolina, and elsewhere, defendant herein, MELISSA AMBER MCROY, did

knowingly and intentionally combine, conspire, confederate and agree with other

persons, known and unknown to the Grand Jury, to distribute and possess with the

intent to distribute a mixture and substance containing a detectable amount of

fentanyl, a Schedule II controlled substance, and five (5) grams or more of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(l).

      All in violation of Title 21 , United States Code, Section 846.



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                                    COUNT TWO

      On or about June 23, 2022, in the Eastern District of North Carolina,

MELISSA AMBER MCROY, defendant herein, did knowingly and intentionally

distribute five (5) grams or more of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(l).

                                   COUNT THREE

      On or about July 13, 2022, in the Eastern District of North Carolina, MELISSA

AMBER MCROY, defendant herein, aiding and abetting another, did knowingly and

intentionally possess with the intent to distribute a mixture and substance containing

a detectable amount of fentanyl, a Schedule II controlled substance, and a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, and a in violation of Title 21, United States Code, Section

841(a)(l) and Title 18, United States Code, Section 2.




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                                   FORFEITURE NOTICE

       Notice is hereby given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction of any felony violation of the Controlled Substances Act

charged herein, the defendant shall forfeit to the United States, pursuant to 21 U.S.C.

§ 853(a), any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as a result of the said offense, and any property used, or intended to be

used, in any manner or part, to commit, or to facilitate the commission of the said

offense.

       If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty;




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it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property described above.



                                                A TRUE BILL:




                                                FOREPERSON

                                                DATE:     ll/u(U)J-2--

MICHAEL F. EASLEY, Jr.
United States Attorney

     L~~           FJ~
BY: KATHERINE E. SCHUH
Assistant United States Attorney




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